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                Analysis of Psychological Stability as a Factor in Determining
                 Medical Accession Standards for Transgender Individuals
                                 Part I: Task and Methodology
In their ongoing efforts to address concerns regarding medical standards for transgender
individuals accessing into the U.S. Military, the Accession Medical Standards Working Group
tasked the Psychological Health Center of Excellence (PHCoE) and the Accession Medical
Standards Analysis and Research Activity (AMSARA) to investigate any relevant data sources
that may suggest appropriate periods of psychological stability prior to enlistment or
commissioning. Specifically, four questions were posed by Dr. Ciminera and CAPT Bradford on
behalf of the AMSWG:
1. What are the appropriate periods of stability prior to accession into the military for medical
(e.g. surgeries, cross-sex hormone use) and psychological conditions associated with gender
dysphoria or a gender transition?
2. Do our current accession stability period standards for mental health conditions such as
depression or anxiety (typically 36 months of stability following treatment) appropriately inform
what we should consider appropriate for gender dysphoria or gender transition?
3. Does the evidence show that issues such as cross-sex hormone therapy, not a medical
condition, should have an equal period of stability as gender dysphoria?
4. What would be the next logical steps for further research into this space to inform DoD
medical standards?


To address these core questions, the PHCoE and AMSARA teams crafted a joint approach that
includes four phases:
Phase 1: Initial environmental scan of relevant treatment standards, key literature, and
international military standards for military accession by transgender individuals.
Phase 2: Analysis of health care data from an identified cohort of individuals diagnosed with
gender dysphoria or undergoing gender transition medical procedures in the military health
system.
Phase 3: Comprehensive literature review of psychological stability associated with gender
dysphoria, gender transition, and hormone replacement therapy.
Phase 4: Analysis of administrative and health care data from a cohort of accessions and
separations from transgender disqualifications and waivers.


The current information paper addresses Phases 1 and 2 of this analysis. Phases 3 and 4 will
continue as a joint effort between PHCoE and AMSARA throughout Fiscal Year 2021.
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     Part II: Literature Review on Psychological Stability in Transgender Individuals
The Standards of Care for the Health of Transsexual, Transgender, and Gender-Nonconforming
People (Version 7) published by the World Professional Association for Transgender Health
(WPATH, 2012) maps out the epidemiology of gender non-conformity, non-medical and
medical interventions for gender-related distress, and roles of various providers through various
interventions. In considering psychological stability and suitability for military service among
transgender individuals, several principles from the WPATH guidelines are relevant:
           1. The recommendation to de-pathologize gender non-conformity and recast it as a
              normal variation of human diversity;
           2. Correctly diagnose the “socially-induced” nature of mental health concerns
              associated with gender non-conformity that comes from widespread prejudice and
              discrimination rather than gender non-conformity itself;
           3. Understand gender dysphoria as distress that can fluctuate in individuals of all
              gender identities and not necessarily an inherent aspect of gender non-conformity.

The WPATH Standards of Care document also acts as a possible template and helpful
comprehensive guide for other institutions. In addition, the principles above are consistent with
movement in the International Classification of Diseases (ICD-11) developed by the World
Health Organization that renames gender dysphoria as gender incongruence instead and relocates
the condition to the sexual health category rather than mental health. They are also consistent
with the Department of Defense commitment to diversity and appreciation for the ways various
perspectives and abilities maximize our fighting force.
Psychological health issues such as depression, anxiety, suicidality, and non-suicidal self-injury
are more prevalent among transgender individuals seeking medical care compared to the general
population. Representative and methodologically-sound studies of the transgender population
and specifically, of military or Veteran transgender individuals are rare. Overall, transition-
related medical interventions positively impact mental health and quality of life.
       Elders, Brown, Coleman, Kolditz, and Steinman (2014) summarize and challenge four
common notions to justify barring transgender individuals from Service which are actually not
supported by research and not internally consistent with other DoD policies and populations.
These four notions are (pp. 4-5):
       (1) transgender personnel are too prone to mental illness to serve, (2) cross-sex hormone
       therapy is too risky for medical personnel to administer and monitor, (3) gender-
       confirming surgery is too complex and too prone to postoperative complications to
       permit, and (4) transgender personnel are not medically capable of safely deploying.
The most notable challenge to these assumptions is falsely equating transgender identity with
mental health disorders, which has become a debunked connection broadly in the medical field.
In addition, there are a number of other conditions that require hormone treatment which do not
bar service or deployment for other groups, including: dysmenorrhea, endometriosis, menopausal
syndrome, chronic pelvic pain, and renal or voiding dysfunctions. In addition, the authors cite
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that 1.4% of all US Service Members report taking prescribed anabolic steroids. The authors
conclude that the transgender bar is inconsistent with current medical understanding and relies
on assumptions that are either unfounded or inconsistent with other standards for conditions
affecting predominately cisgender individuals.
Core Findings regarding Psychological Stability of Transgender Individuals
        Dhejne et al. (2016) systematically reviewed 47 studies on gender dysphoria among those
seeking gender-affirming treatment and concluded that transgender individuals experienced
higher rates of psychiatric disorders at study baselines. Mood disorders such depression and
anxiety disorders are prevalent among transgender individuals (Dheine et al., 2016; Freitas et al.,
2020; McCann & Brown, 2018). While little has been published on the military transgender
community, Lindsay et al. (2016) describe mental health prevalence rates for 336 military
veterans who served in Iraq and/or Afghanistan and report that 70% of transgender women and
67% of transgender men had depressive disorders. Additionally, 51% of transgender women and
55% of transgender men had anxiety disorders (Lindsay et al., 2016). Swedish civilian
transgender individuals actively seeking treatment were approximately 6 times more likely to
receive treatment for a mood or anxiety disorder and almost 4 times more likely to use an
antidepressant than the general population (Bränström and Pachankis, 2020). The prevalence
rates of depression among transgender individuals ranges from 21-60% (Boza & Perry, 2014).
        A secondary data analysis of medical records from the Veteran Health Administration
(N=32,441), comparing suicide, homicide, and all-cause mortality rates, indicated that
transgender Veterans were significantly more likely to complete suicide than the cisgender
comparison group and cisgender Veterans were significantly more likely to die from all-cause
mortality (Boyer, Youk, Haas, Brown, Shipherd, Kauth, Jasujaa, & Blosnich, 2021). Similar to
the Bränstrom and Pachankis (2020) study, suicide completion was still a low-base rate behavior
despite significant differences between groups (.8% versus .2% in the cisgender group). Of note,
all-cause mortality was higher in the cisgender population in ages 40-64 (19.9% versus 13.6% in
the transgender group) and >65 (40.3% versus 25.7% in the transgender group). Marshall et al.
(2016) systematically reviewed 31 studies on non-suicidal self-injury, suicidal ideation, and
suicide attempts among transgender individuals and reported all to be prevalent across studies.
Five of the reviewed studies suggest that non-suicidal self-injury is more prevalent among
transgender individuals, specifically among trans men, with one study further clarifying that
trans women may be more likely to engage in self-harm behaviors while thoughts of self-harm
may be more common among trans men. Twenty-six studies on suicidality were reviewed and
researchers concluded that suicidal thoughts and attempts are prevalent among transgender
individuals. Across reviewed studies, rates of suicidal ideation within the samples ranged widely
from 37% to 81%, with trans men experiencing more prevalent suicidal ideation, and rates of
suicide attempts ranged from 18% to 52% of trans participants reporting in their lifetime
(Marshall et al., 2016). Rates were consistently higher than the national US average, and those
reported by other subgroups in the LGBT community. In one study, transgender individuals
within the medical system had consistently higher rates of hospitalization after a suicide attempt
over a ten-year period compared to the general population; however, this rate was low for both
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groups (.08 versus .01%; Bränström and Pachankis, 2020). Higher rates of suicide attempts for
transgender individuals are reportedly correlated with history of incarceration and lower
socioeconomic status (McNeill, Ellis, & Eccles, 2017). Studies have indicated that factors
indicating higher risk for suicidal ideation include: history of abuse, history of psychotherapy or
medication use, history of physical or sexual violence, who were planning to or had already
transitioned and were experiencing discrimination, while those who did not plan to transition
experienced less risk (McCann & Brown, 2018; McNeill et al., 2017).
Variation within the Trans Community
        Studies have shown there to be variability of mental health issue prevalence and severity
within the trans community but have offered inconsistent findings regarding those differences.
Researchers offer conflicting conclusions, particularly regarding the psychological health issues
experienced by transmen versus transwomen. Some studies have shown higher psychopathology
among trans women, while others have shown no difference (Dhjene et al., 2016). Additionally,
some studies show greater risk for suicide attempts among trans men, while at least one study
has reported trans women to be at greater risk, and still others have found no difference in risk
for suicide attempt (McNeil et al., 2017).
Minority Stress and Social Risk Factors
         When describing the risk factors for psychological issues in this population, it is
important to acknowledge the many social factors that contribute as well. Minority stress plays a
role in trans people’s lives, because of the psychological damage caused by stigma,
discrimination, and transphobia (McCann & Brown, 2018). By acknowledging the impact of
minority stress, researchers and clinicians can avoid pathologizing and blaming transgender folks
for the higher rates of psychological issues that they experience (Scandurra, Amodeo, & Valerio,
2017). Trans folks experience risk factors related to discrimination by others such as limited
access to services such as housing, healthcare, and financial supports that are necessary to meet
physical and emotional needs (McCann & Brown, 2018). The effects of discrimination are also
seen in the workplace, as it can impact employment status and financial stability, social isolation
and exclusion (McCann & Brown, 2018). Physical safety concerns are also reported among the
trans community as causing psychological distress and are a realistic threat (McCann & Brown,
2018). Of the documented hate violence against members of the LGBTQ community in 2017,
32% of survivors were transgender (National Coalition of Anti-Violence Programs, 2018). Of the
52 documented hate violence homicides of LGBTQ people in 2017, 52% (n = 27) were
transgender or gender non-conforming (National Coalition of Anti-Violence Programs, 2018).
Further, a majority (n = 22) of transgender people who were killed in 2017 were trans women of
color (National Coalition of Anti-Violence Programs, 2018).
Limitations of Current Literature on Psychological Issues
        There are many limitations to the current research on psychological issues experienced by
transgender individuals. While studies indicate that mental health issues may remain prevalent
among transgender folks, it is difficult to draw generalizable conclusions from older studies,
particularly when current medical and psychosocial interventions have progressed a lot over the
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past 20 years (Dhjene et al., 2016). Many studies show a sampling bias of transgender people
actively seeking transition-related medical interventions or other treatment within a healthcare
setting, which could skew the findings towards overrepresenting those with more severe
psychopathology, or individuals with greater contact with medical professionals who may
diagnose them, and therefore, may not represent the transgender population as a whole (Dhjene
et al., 2016). This could also contribute to prevalence rates, as transgender individuals actively
engaging in the medical system might have increased opportunities to be diagnosed with mental
disorders. There are also issues with generalizability of findings to the trans people in the United
States, due to many studies being conducted in Europe, with additional difficulty generalizing
findings to those in the military (McCann & Brown, 2018). Study samples often under-represent
people of color, neglecting intersectionality and limiting the applicability of findings to
individuals experiencing compounded minority stress (McCann & Brown, 2018). Lack of
agreement on terms used to describe the transgender community presents an additional challenge
to application of findings, as does the lack of attention to gender identity and expression diversity
and fluidity (i.e., non-binary, gender non-conforming, gender fluid) within the larger trans
community. The methods of traditional quantitative studies often do not have the flexibility that
is required to capture and explain the nuances of diverse identities and experiences of this
community. When studies do differentiate findings based on smaller subgroups, transwomen
appear to be overrepresented across many study samples (McCann & Brown, 2018; Van de Grift
et al., 2017).
Psychological Effects of Transition-Related Medical Interventions
         In general, transition-related medical interventions positively impacted mental health and
quality of life. However, there are few studies that measure transition-related medical
interventions over time and at specific time-points. In addition, there have only recently been
initiatives to standardize outcome measurements for transition-related medical interventions,
which have historically made compared groups and outcomes hard due use of non-validated
instruments (e.g., Andréasson, Geogas, Elander, & Selvaggi, 2018). We identified three large or
cohort-based European studies that provided information on outcomes (Bränström & Pachankis,
2020; Van de Grift, Elaut, Cerwenka, De Cuypere, Richter-Appelt, & Kreukels, 2017; White
Hughto, & Reisner, 2016) and one US-based study (Hughto, Gunn, Rood, & Pantalone, 2020).
         Of note, many European countries have universal healthcare infrastructure and access for
transgender individuals, which may be more transferable to the military healthcare context than
the civilian United States system. Bränström and Panchankis (2020) examined healthcare
utilization longitudinally from a national Swedish register and found that a sample of 2,679
individuals who received a gender incongruence diagnosis were, at baseline and in general, were
more likely to receive treatment for mood or anxiety disorder; however, that gap reduced based
on time since last gender-affirming surgery. The likelihood of being treated for mental health
treatment reduced by 8% for each year after gender-affirming surgery. Transgender individuals
were equally likely over time to be hospitalized after a suicide attempt (approx. .08% compared
to .01% of the general population) and were more likely than the general population to be
hospitalized, but the rates were generally low. Van de Grift and colleagues (2017) found that 200
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individuals who provided information at baseline upon entering into gender identity clinic and 6
years follow-up who received hormone or surgical intervention reported increased body
satisfaction compared to individuals who had received no treatment (n = 29). Body satisfaction
was not related to gender dysphoria, but was positively related to psychological symptoms. In
other words, there was a lot of individual variation, but in general transition-related medical
intervention can decrease psychological symptoms and increase body satisfaction. White
Hughto, and Reisner (2016) systematically reviewed three studies from gender identity clinics
across Italy and Belgium and found that 247 transgender individuals receiving hormone
treatment reported significant improvement in psychological functioning (i.e., general mental
health symptoms and quality of life) after starting hormone treatment at 3-6 months and 12
months. There was a statistically significant improvement in self-reported quality of life for the
transfeminine group (n = 180) and a non-significant improvement for the transmasculine group,
which may be related to a smaller sample (n = 67). Hughto and colleagues (2020) identified that
social and medical affirming interventions were inversely related to self-reported mental health
symptoms and non-suicidal self-injury in a sample of 288 US-based individuals.
        Because of individual variation, relevant variables, and insufficient outcome data, we
cannot make conclusions about the specific timing of the positive effects of hormone treatment
and/or surgical intervention. However, these positive effects may be experienced even as early as
3-6 months (e.g., White Hughto & Reisner, 2016). Gender dysphoria may become an obsolete
diagnosis and may not be related as strongly to overall psychological functioning as body
satisfaction (e.g., Van de Grift et al., 2017). Baseline and outcome experiences of transition-
related medical interventions are significantly impacted by a variety of mechanisms, included the
cultural context, structural barriers to healthcare and other basic needs, and social support (e.g.,
White Hughto, Reisner, & Pachankis, 2015). Another major limitation is that other non-medical,
gender affirming interventions often co-occurred with medical interventions, which can also
have a significant positive impact on treatment outcomes (e.g., Hughto et al., 2020). It follows
that gender dysphoria as a diagnosis may not be useful as a determinant for overall functioning
and focusing on making the environment affirming can itself improve outcomes.
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Summary of Studies Examining Psychological Changes following Transition-Related Medical Interventions

Study                    Sample                        Conclusions                                   Limitations
Bränström & Pachankis,   Swedish; N=2,679              Gender affirming surgery may be more          No matched controls
2020                                                   strongly correlated with less mental health
                         Time-points: Baseline,        care utilization over time                    Only recruited individuals already
                         annual through 10+ years                                                    seeking medical transition
Van de Grift, Elaut,     European; N=201               At 6 years post-intervention, individuals     No matched controls; however,
Cerwenka, De Cuypere,      o 135 transfeminine         with and without medical intervention had     there was a no-treatment
Richter-Appelt, &          o 66 transmasculine         similar self-reported gender dysphoria to     comparison group, but was not
Kreukels, 2017                                         the general population                        randomized
                         Time-points: Baseline, +
                         6 years                       Gender dysphoria was not related to body
                                                       satisfaction and body satisfaction was
                                                       related positively to mental health
                                                       symptoms
White Hughto, &          European; N=247               Hormone treatment was correlated with         No control groups
Reisner, 2016              o 180 transfeminine         significantly improved psychological
                           o 67 transmasculine         functioning at both follow-up time-points     Mental health treatment provided
                                                                                                     concurrently with hormone
                         Time-points: baseline, 3-6                                                  treatment
                         months, and 12 months
                                                                                                     Social transition occurred
                                                                                                     concurrently with hormone
                                                                                                     treatment
Hughto, Gunn, Rood, &    American; N=288               Effects of non-medical and medical gender     No control groups
Pantalone, 2020           o 234 trans-masculine        affirmation are likely additive with regard
                            gender spectrum            to mental health and quality of life          Not longitudinal (i.e., measured
                          o 54 trans-feminine                                                        over time)
                            gender spectrum

                         Time-points: Cross-
                         sectional
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   Part III: Analysis of Medical Administrative Data on Transgender Service Members
Key Findings
       Applicability of MHS utilization data to questions of accession standards or waiting
        periods is limited.
       Comparison of matched transgender and depression cohorts suggest that, relative to
        Service Members with depression,…
          1. …transgender Service Members are more likely to remain on active duty longer
             following cohort eligibility; AND
          2. …transgender Service Members spend less time in a non-deployable status due to
             mental health reasons.
       Most transgender Service Members will eventually receive hormone treatments and there
        appears to be no meaningful difference in deployability (related to mental health
        concerns) between those with and without a history of such treatment.

Background

On 15MAR2021, the Psychological Health Center of Excellence (PHCoE) was tasked by
USD(P&R/HA) to support a request for information related to DoD accession policies as they
pertain to transgender recruits. In addition to providing a literature review and an analysis of
existing policy, PHCoE was directed to determine how transgender service members’ healthcare
utilization might inform discussions on this matter.

A number of factors limit our ability to apply medical administrative data meaningfully to
address the important questions posed around accession waiting periods for transgender recruits.
Principal amongst these limitations is that DoD medical databases do not contain information on
transgender individuals who apply to join military service but are not ultimately selected.
Consequently, data that might speak to these issues are limited to the healthcare utilization of
those transgender service members who either met existing accession standards or whose
transgender status was only evident following entry into military service. Analysis and
interpretation are further limited by the lack of availability of accurate readiness, deployability,
and duty limitation data. Finally, it is important to note that members of the transgender
community are encouraged (and in many cases required) to maintain contact with mental health
services. As such, using administrative data alone to distinguish contacts with mental health
service providers that might be duty-limiting from those mental health contacts that are
functionally equivalent to wellness visits poses a substantial threat to the validity and
interpretability of potential findings.

In light of the limitations mentioned above, and given that available Military Health System
(MHS) data do not speak directly to the issue of appropriate accession waiting periods (for any
specific circumstance), PHCoE undertook analyses to identify a cohort of transgender service
members and describe patterns of healthcare utilization that might indicate non-deployability or
other duty limitations. These analyses may provide useful context to decision-makers as they
consider options related to transgender accessions policy.
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Methods

Analysts identified a cohort of transgender service members based on qualifying diagnoses1
recorded in either the first or second diagnostic position using either ICD-9 or ICD-10 diagnostic
codes2 between CY2015 and CY2020. This approach to case-finding yielded a cohort of 2,039
individuals over the six-year period. To identify contacts with the mental health system that
might be duty-limiting we considered all inpatient admissions and outpatient encounters where
the primary reason for the visit/admission (as defined by the diagnostic code recorded in the first
diagnostic position) had to do with mental health or substance abuse concerns other than gender
dysphoria or tobacco dependence. The exclusion of mental health contacts related to gender
dysphoria was meant to exclude those encounters that might be considered psychological
wellness checks for transgender individuals.

Additionally, analysts identified a matched depression cohort for the purposes of comparison.
The two matched cohorts each contained 2,039 individuals and were matched based on age
(year), service (Air Force, Army, Marine Corps, Navy), month of entry diagnosis, and
component (Active or Reserve). Readiness outcomes were examined for each cohort and
compared.

Two sets of ancillary analyses were also carried out. First, since some forms of hormone
therapies can render individuals non-deployable, we described hormone therapy use by cohort
year with specific attention to routes of administration. We also compared the portion of the
transgender cohort who received hormone therapy at some point during the observation period
with those who never received hormone treatments and compared both groups on readiness
outcomes. Finally, we identified seven transgender Service members for whom gender-
dysphoria-related information existed in the medical record prior to accession (i.e., Service
Members who were dependent beneficiaries prior to enlisting). Given the extremely small
sample size, no conclusions can be drawn that could be generalized to the larger population of
transgender recruits. However, since this small group represents the military health system data
most applicable to the question of accession standards, the readiness outcomes of these group
members are described in a brief case series table.

Findings

Table 1: Cohort Entry
    Cohort Entry Year      % of Cohort        As noted above, the identified cohort consisted of 2,039
           2015               6.78%           transgender service members of whom roughly 85% were
           2016              24.39%           enlisted, about 5% were officers, and around 10% were
           2017              24.83%           either in other rank categories or had no recorded rank
           2018              17.57%           group. Table 1 shows the distribution by Calendar Year of
           2019              16.25%           entry into the cohort across the observation period. 2016
           2020              10.17%
                                              and 2017 mark the years with the largest proportion of
                                              Service Members entering the cohort.

1
  Transsexualism, Dual Role Transvestism, Gender Identity Disorder Of Childhood, Other Gender Identity Disorders, Gender
Identity Disorder, Unspecified, Transvestic Fetishism, Personal History Of Sex Reassignment
2
  302.3, 302.6, 302.50, 302.51, 302.52, 302.53, 302.85, F64.0, F64.1, F64.2, F64.8, F64.9, F65.1, Z87.890
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Since the length of time that service members remain on active duty impacts both their
deployability and the level of confidence of our estimates, we first examined how long
individuals remained on active duty as observable in the medical benefits eligibility data. For the
purpose of this time-to-event analysis, time “zero” for all members was set to the date at which
they became identifiable as cohort members in the medical record. Individuals were then
followed in the eligibility data and their end-of-service date was set as the month following the
last month during which they were listed as being eligible for benefits by virtue of their active
duty status. Individuals still on active duty at the time of analysis have no end-of-service dates.
On average, members’ first documented cohort-qualifying medical encounter occurred about 2.3
years (SD=1.8) after cohort members’ earliest MHS enrollment as an Active Duty Service
Member.3 There was no evidence to suggest within-cohort differences in time on Active Duty
based on the year in which service members joined the cohort. Based on observed “survival” on
active duty, we would expect that slightly more than 50% of transgender service members will
leave service by 23 months after receiving their first transgender-related diagnosis within the
MHS. How this compares with retention amongst non-transgender service members, however, is
now known. The results of this analysis are shown below in Figure 1.

Figure 1: Time to Termination of Service (Transgender Cohort)
                   1.00
                   0.75
     Probability
                   0.50
                   0.25
                   0.00




                          0        20                  40                     60                   80
                                                      Month



Given the substantial attrition evident in the cohort, there are many fewer transgender service
members with longer service histories available for observation. The most consequential impact
of this for our purposes is that our ability to predict longer-term readiness outcomes is even

3
 Administrative data related to pre-cohort entry enrollment in the MHS is unreliable. Nearly 20% of identified
cohort members were excluded from the calculation of mean time to cohort entry due to missing or obviously
erroneous data.
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further limited by a rapidly decreasing population under study. As a result, examination of likely
non-deployable episodes was limited to the first 24 months following identification as a member
of the transgender cohort.

Interestingly, the matched cohort of Service Members with depression were more likely to leave
service sooner following cohort entry as compared to the transgender cohort. As presented in
Figure 2, below, 50% of the transgender cohort had left service in the first 23 months following
gaining cohort eligibility. Amongst the depression cohort, however, 50% had left service within
the first 14 months.

Figure 2: Time to Termination of Service (Transgender vs. Depression Cohorts)
                  1.00
                  0.75
     Proportion
                  0.50
                  0.25
                  0.00




                         0        20                40                     60            80
                                          Month since cohort entry

                                        Transgender                   Depression




PHCoE applied CENTCOM standards in considering non-deployability based on mental health
concerns amongst the identified cohort of transgender service members. Per available guidance,
service members are considered non-deployable to the CENTCOM area of operations for three
months following the conclusion of outpatient mental health treatment and for 12 months
following an inpatient stay for a mental health concern. Using this definition, around 60% or
more of the transgender service member cohort remained deployable throughout the 24 months
following cohort eligibility. In general, 10% or fewer of the cohort were non-deployable for
reasons related to inpatient mental health stays in the two years following initial diagnosis.
Similarly, only about 30% of the cohort would have been non-deployable as a result of outpatient
mental health contacts unrelated to gender dysphoria in the 24 months following identification as
a cohort member through medical administrative data. Importantly, data were not available from
non-transgender service members that could serve as a basis for comparison to indicate if
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supposed non-deployability rates amongst the transgender cohort differed from the overall non-
deployability rate. Results of this analysis are presented below in Figure 3.

Figure 3: Estimated Deployability and Non-Deployability amongst Transgender Cohort Members
          1
          .8
    Probability
    .4    .2
          0 .6




                  0         5             10                15             20                25
                                      Month since initial diagnosis

                        In service                             No mental health restriction
                        Outpatient mental health               Inpatient mental health



Note that Figure 3 also portrays the decreasing proportion of the cohort still in service (the
stepped dotted line). As this proportion decreases, certainty around the accuracy of deployability
estimates decreases as well.

In order to better contextualize the readiness outcomes of the transgender cohort presented
above, analysts examined readiness outcomes amongst the depression cohort. Figure 4, below,
shows the proportion of members of each cohort who are still in service as a function of months
with cohort-qualifying diagnoses. Figure 4 also presents the proportion of cohort members
remaining in service whose deployability we could reasonably expect to be unrestricted on the
basis of outpatient mental health encounters (non-deployable for 3 months following) or
inpatient psychiatric admissions (non-deployable for 12 months following inpatient discharge).
As noted above, the transgender cohort stayed in service longer, on average, than did the
depression cohort. Interestingly, the transgender cohort also had a greater proportion of members
available for deployment than the depression cohort. It is noteworthy that the availability curves
approach one another toward the end of the 24-month observation period; this may reflect a
selection mechanism wherein individuals with more severe problems had been removed from the
population by this point in time. Collectively, this analysis suggests that, within the first 24
months following receipt of a cohort-qualifying diagnosis, members of the transgender cohort
are more deployable than members of the matched cohort of service members with depressive
disorders.
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Figure 4: Comparison of the Estimated Deployability of the Transgender and Depression Cohorts


                   1
                   .8
     Probability
                   .6
                   .4
                   .2
                   0




                        0     5            10                15               20                25
                                       Month since initial diagnosis

                            Transgender, in service                 Transgender, available
                            Depression, in service                  Depression, available



PHCoE also considered transgender service members and hormone therapies since some
administration routes impact deployability. Notably, regulations require that transgender service
members live for at least 12 months as their preferred gender before initiating hormone therapies.
Consequently, we expect that cohort members who were identified more recently (CY2019 or
CY2020) would receive hormone therapies at a lower rate. Table 2, below, illustrates the number
and proportion of cohort members who have received hormone therapies during the observation
period. The table breaks out hormone therapy rates by routes of administration and cohort year.
As expected, cohort members identified in CY2019 and CY2020 were less likely to have records
of hormone therapy prescriptions. Around 70% of earlier cohorts have received at least one
prescription for hormones. Nearly 50% of transgender service members in the 2015-2018 cohorts
have received injectable hormones.

Table 2: Transgender Service Members Receiving Hormone Therapy
                                             2015        2016        2017       2018       2019      2020
                No Hormone Therapy 45 (31.7%) 125 (23.4%) 167 (31.4%) 112 (30.1%) 184 (54.1%) 162 (75.3%)
                        Capsules Only 22 (15.5%) 75 (14.0%) 68 (12.8%) 76 (20.4%) 56 (16.5%) 26 (12.1%)
                       Injections Only 28 (19.7%) 162 (30.3%) 138 (25.9%) 87 (23.4%) 39 (11.5%) 20 (9.3%)
                    Transdermal Only     0 (0.0%)   12 (2.2%)   16 (3.0%)  14 (3.8%)  15 (4.4%)  1 (0.5%)
              Capsules and Injections 20 (14.1%)    48 (9.0%)   37 (7.0%)  17 (4.6%)  17 (5.0%)  3 (1.4%)
           Capsules and Transdermal      6 (4.2%)   31 (5.8%)   33 (6.2%)  18 (4.8%)   6 (1.8%)  1 (0.5%)
          Injections and Transdermal 15 (10.6%)     52 (9.7%) 54 (10.2%) 39 (10.5%)   19 (5.6%)  2 (0.9%)
 Capsules, Injections, & Transdermal     6 (4.2%)   30 (5.6%)   19 (3.6%)   9 (2.4%)   4 (1.2%)  0 (0.0%)
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There was no meaningful difference in readiness outcomes between those members of the
transgender cohort who received hormone therapy and those who did not. The solid lines in the
two graphs in figure 5, below, illustrate the proportions of the transgender cohort receiving and
not receiving hormone therapy who have no mental-health-related restrictions on deployability
(per CENTCOM standards) at each month following cohort entry. For the most part, there was a
0.6 to 0.7 probability that cohort members in either subgroup would be deployable during the 24-
months following cohort entry.

Figure 5: Deployability Amongst Transgender Cohort Members With and Without Hormone Therapy




Finally, we identified all members of the transgender cohort who appeared to have pre-accession
medical records by virtue of their status as dependent beneficiaries. While 27 individuals were
initially identified, data cleaning procedure reduced the total number of cases with pre-accession
medical histories that included gender dysphoria to only 7 cases. This number of far too small to
make generalizable statements regarding the transgender recruit population as a whole. However,
because these 7 cases represent the only data that speak directly to the question of mental
healthcare utilization and potential duty limitations amongst transgender service members who
were identifiable as such prior to entry into military service, their experience may be illustrative.
Table 3 lists each of the seven cases along with the number of months prior to accession since
their earliest cohort-qualifying event, the total number of months following accession that they
were available for deployment and the total number where they would presumably not have been
deployable by virtue of either inpatient or outpatient mental health care.
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Table 3:Case Series Analysis of Transgender Cohort Members with Pre-Accession MHS Contacts
                                                            Months Non-             Months Non-
            Months Between                                  Deployable due to       Deployable due to
            Initial Gender            Months Available for  Outpatient Mental       Inpatient Mental
            Dysphoria Dx and          Deployment Following Health Treatment         Health Treatment
            Accession                 Accession             Following Accession     Following Accession
 Case 1               123                       1                      4                       0
 Case 2                56                       20                    37                      13
 Case 3                17                       11                    14                      13
 Case 4                32                       24                     8                      13
 Case 5                20                       2                      0                       0
 Case 6                43                       9                      0                       0
 Case 7                53                       5                      0                       0

As the table above illustrates, there was considerable variance in the amount of time prior to
accession and after initial gender dysphoria diagnosis within the MHS between the selected
cases. If one assumes overlapping inpatient and outpatient episodes of non-deployability then
one could make the claim that 4 out of 7 cases spent more time deployable than not. It is
important to note, however, that four out of the seven had less than one year of post-accession
military service during the observation window, further limiting interpretability of these findings.

Conclusions

As noted above, the medical administrative data do not speak directly to the question of how
long accession waiting periods should be. Instead, these data can be used to identify and follow a
cohort of transgender service members and to describe healthcare utilization within the context
of readiness and deployability. We estimate that fewer than 40% of the transgender service
members identified as part of this study would have been deemed non-deployable due to mental
health reasons at some time during the 24 months following initial diagnosis. Members of the
transgender cohort were likely to remain in military service longer than were members of a
match depression cohort and were less likely to be non-deployable due to their mental health
utilization. We also found that, once allowed to begin hormone therapy, upwards of 70% of
cohort members have one or more prescription for hormones in the medical record. Importantly,
more than 50% of transgender service members in the study had left service in the 24 months
following initial diagnosis and this substantially limits our ability to estimate longer-term
outcomes related to readiness. Transgender service members with hormone therapy did not
appear to differ meaningfully in their deployability from those without hormone therapy.

While these findings may shed some light on transgender service members, their healthcare
utilization, and their deployability, data from transgender recruits were not available for analysis.
As such, we cannot say with any certainty that the findings described here would apply to a
recruit population.
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                                     Glossary of Relevant Terms
Binary sex: The designation of a person at birth as either “male” or “female” based on their based on
their anatomy (genitalia and/or reproductive organs) and/or biology (chromosomes and/or hormones).
Gender or Gender Role: traditional or stereotypical behaviors often divided into feminine and
masculine, as defined by the culture in which they live (e.g. their gender expressions, the careers they
pursue, and their duties within a family)
Gender identity: A person’s innate, deeply-felt psychological identification as a man, woman, or other
gender, which may or may not correspond to the person’s external body or assigned sex at birth (i.e., the
sex listed on the birth certificate).
Gender expression: The external manifestation of a person’s gender identity, which may or may not
conform to the socially-defined behaviors and external characteristics that are commonly referred to as
either masculine or feminine.
         Genderqueer: An umbrella term that includes all people whose gender varies from the
traditional norm, akin to the use of the word “queer” to refer to people whose sexual orientation is not
heterosexual only; or (2) to describe a subset of individuals who feel their gender identity is neither
female or male.
Gender nonconformity: Term that refers to the extent to which a person’s gender identity, role, or
expression differs from the cultural norms prescribed for people of a particular sex (Institute of Medicine,
2011).
        Bigender, Beyond Binary, Non-Binary, Gender fluid, Androgyne: gender variations other
than the traditional, dichotomous view of male and female.
         Transgender: An umbrella adjective for people whose gender identity and/or gender expression
differs from their assigned sex at birth (i.e., the sex listed on their birth certificates)
         Transwoman: Noun that generally refers to someone who was identified male at birth but who
identifies and portrays her gender as female.
         Transman: Noun that generally refers to someone who was identified female at birth but who
identifies and portrays his gender as male.
        Cisgender: Adjective referring to individuals whose gender identity and gender expression align
with their assigned sex at birth (i.e., the sex listed on their birth certificates)
Gender incongruence: A sexual health condition classified by the International Classification of
Diseases, eleventh edition (ICD-11) denoting a marked and persistent incongruence between an
individual’s experienced gender and assigned sex.
Gender dysphoria: A mental health diagnosis according to the Diagnostic and Statistical Manual of
Mental Disorders, fifth edition (DSM-5) that describes a collection of symptoms associated with
incongruence between a person’s experienced/expressed gender and sex assigned at birth.
Gender affirming: Adjective used to refer to behaviors or interventions that affirm a transgender
person’s gender identity (e.g., a physician using cross-sex hormones for a transgender patient may be
called gender affirming, as can the use of a correctly gendered pronoun.)
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Transition: An individualized process in which transgender people move from living aligned with the
sex they were assigned at birth to living aligned with their gender identity. There are three general aspects
to transitioning: social (e.g., presentation, relationships, employment, names/pronouns); medical (e.g.,
hormones, surgery, mental health) and legal (e.g., changing gender marker and name on legal documents
and identification). Each person’s transition path is unique.
Gender Affirming Medical Interventions: Procedures that involve medical providers and typically alter
some aspect of physical or biological anatomy or process to better align with gender identity.
Bottom surgery: Colloquial phrase to describe gender affirming genital surgery.
Breast augmentation: Surgery to enlarge the breasts using breast implants.
Chest masculinization: A bilateral mastectomy that removes most of the breast tissue, shapes a
contoured male chest, and refines the nipples and areolas.
Facial feminization surgery: Includes such procedures as reshaping the nose, and brow or forehead lift;
reshaping of the chin, cheek and jaw; Adam’s apple reduction; lip augmentation; hairline restoration and
earlobe reduction.
Facial masculinization surgery: Includes forehead lengthening and augmentation; cheek augmentation,
reshaping the nose and chin; jaw augmentation; thyroid cartilage enhancement to construct an Adam’s
apple.
Hormone replacement therapy (HRT): The process in which transgender people choose to take a
prescription of synthetic hormones. For transgender women, that may include estrogen as well as
testosterone blockers. For transgender men: testosterone (T).
Metoidioplasty: A surgical procedure that works with existing genital tissue to form a phallus, or new
penis. It can be performed on anyone with significant clitoral growth caused by using testosterone.
Penile construction/phalloplasty: The construction of a penis generally includes several procedures that
are often performed in tandem. They may include the following: a hysterectomy to remove the uterus, an
oophorectomy to remove the ovaries, a vaginectomy to remove the vagina, a phalloplasty to turn a flap of
donor skin into a phallus, a scrotectomy to turn the labia majora into a scrotum, a urethroplasty to
lengthen and hook up the urethra inside the new phallus, a glansplasty to sculpt the appearance of an
uncircumcised penis tip, and a penile implant to allow for erection.
Top surgery: Colloquial phrase to describe gender affirming surgery of the chest — either bilateral
mastectomy or breast augmentation.
Vaginal construction/vaginoplasty: A procedure in which surgeons may remove the penis and testes, if
still present, and use tissues from the penis to construction the vagina, clitoris and labia.
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        Accession Medical Standards Analysis and Research Activity
                                         (AMSARA)




     Analysis of Medical Administrative Data on Transgender Service Members

                                             Phase 4

                                             7/14/2021




Requested by:
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Prepared in response to:
Accession Medical Standards Working Group (AMSWG) task


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                                                                                           FCMR-UWE-S

1. Purpose

In their ongoing efforts to address concerns regarding medical standards for transgender individuals
accessing into the U.S. Military, the Accession Medical Standards Working Group (AMSWG) tasked
the Psychological Health Center of Excellence (PHCoE) and the Accession Medical Standards Analysis
and Research Activity (AMSARA) to investigate any relevant data sources that may suggest appropriate
periods of psychological stability prior to enlistment or commissioning. Specifically, four questions
were posed by Dr. Ciminera and CAPT Bradford on behalf of the AMSWG:

1. What are the appropriate periods of stability prior to accession into the military for medical (e.g.
surgeries, cross-sex hormone use) and psychological conditions associated with gender dysphoria or a
gender transition?
2. Do our current accession stability period standards for mental health conditions such as depression
or anxiety (typically 36 months of stability following treatment) appropriately inform what we should
consider appropriate for gender dysphoria or gender transition?
3. Does the evidence show that issues such as cross-sex hormone therapy, not a medical condition,
should have an equal period of stability as gender dysphoria?
4. What would be the next logical steps for further research into this space to inform DoD medical
standards?

   To address these core questions, the PHCoE and AMSARA teams crafted a joint approach that
   includes four phases:

   Phase 1: Initial environmental scan of relevant treatment standards, key literature, and international
   military standards for military accession by transgender individuals.
            Completed and presented at the AMSWG meeting, 1 April 2021

   Phase 2: Analysis of health care data from an identified cohort of individuals diagnosed with gender
   dysphoria or undergoing gender transition medical procedures in the military health system.
           Completed and presented at the AMSWG meeting, 13 May 2021

   Phase 3: Comprehensive literature review of psychological stability associated with gender
   dysphoria, gender transition, and hormone replacement therapy.
           Submitted as a separate RAH for AMSWG meeting, 22 July 2021

   Phase 4: Analysis of administrative and health care data from a cohort of accessions and separations
   from transgender disqualifications and waivers.
           Completed in this document and to be presented at the AMSWG meeting, 22 July 2021




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2. Key Findings

         Transgender service members appear similar to the full military applicant pool in terms of the
          proportion with history of any pre-accession medical disqualification status as well as the
          distribution of specific medical disqualifications.
         Rates of adverse attrition and existing prior to service (EPTS) discharge among transgender
          service members were similar to the total force. However, the rates of disability evaluation were
          estimated to be higher among TG service members.

3. Background

The Accession Medical Standards Analysis and Research Activity (AMSARA) conducted a small
complementary analysis with similar cohort identification process to Psychological Health Center of
Excellence (PHCoE) to increase the available evidence surrounding transgender service members. These
analyses aimed to examine the usability of pre-accession factors and end of service outcomes among
transgender service members’ as evidence to inform discussions on related to DoD accession policies
pertaining to transgender applicants.

4.       Methods

Following the PHCoE’s cohort identification criteria, eligible for inclusion were service members
(Army, Navy, Marine Corps, or Air Force) who had a medical encounter for a qualifying transgender
(TG) diagnosis between calendar year 2015-2020. i Qualifying diagnoses were identified by the presence
of an ICD-9/ICD-10 diagnostic codeii in the first or second diagnostic position recorded within a medical
encounter either in a military treatment facility (MTF) or outside of the MTF system (purchased care).
Only service members with a beneficiary category of active duty or guard/reserve on active duty were
included, however due to data limitations, this category was derived from the medical record rather than
from the Defense Enrollment Eligibility Reporting System (DEERS), which was utilized by the PHCoE.

To supplement in-service outcomes described in the PHCoE study, AMSARA evaluated pre-accession
profiles and end of service outcomes among the identified TG cohort. Military Entrance Processing
Station (MEPS) medical screening, accession medical waiver, and accession records were utilized to
identify pre-accession medical disqualifications, with an emphasis on transgender or psychiatric-related
disqualifications. In addition, AMSARA assessed time in service and end of service outcomes,
including non-adverse separations (e.g., expiration of term of service, retirement), adverse attrition (e.g.,
unqualified for active duty, insufficient retainability), disability discharge, and existing prior to service
(EPTS) discharge to: 1) supplement the understanding of the end of service among this cohort gained
from the PHCoE analyses; and, 2) provide insight on potential stability periods.

U.S. Military Entrance Processing Command (USMEPCOM) provided data on all enlisted applicants for
the Army, Navy, Marine Corps, or Air Force in any component, and data on EPTS discharges.

i Transsexualism, Dual Role Transvestism, Gender Identity Disorder Of Childhood, Other Gender Identity Disorders, Gender Identity

Disorder, Unspecified, Transvestic Fetishism, Personal History Of Sex Reassignment
ii 302.3, 302.6, 302.50, 302.51, 302.52, 302.53, 302.85, F64.0, F64.1, F64.2, F64.8, F64.9, F65.1, Z87.890

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Accession and separation records were obtained from the Defense Manpower Data Center (DMDC),
medical waiver records for enlisted medical waiver requests were received from the various Service
Medical Waiver Authorities, and all disability evaluation records were provided by U.S. Army Physical
Disability Agency (USPDA), Secretary of the Navy Council of Review Boards (CORB) and Air Force
Personnel Center (AFPC). Medical encounter records were queried from the Military Health Systems
Data Repository (MDR).

5.   Findings

Of the 2,063 service members in the identified cohort, the majority had an accession record in the
AMSARA database (94%) and the majority had an application record (94%). Those with a missing
accession record could be related to the transactional nature of the data while missing application
records is likely due to the service member not applying for enlisted service and therefore not being seen
at a Military Entrance Processing Station (MEPS).

A wide range of initial accession years were seen among the cohort (1995-2020), however, 80% initially
accessed between fiscal years 2011 and 2020. Among those with an accession record, most initially
entered as enlisted (92%) and/or active duty (87%) (Table 1). In contrast, the DMDC reported that, as
of May 2021, 82% of the military were enlisted and 62% were active duty. 4 Among the TG cohort,
roughly 35% initially accessed into the Army, while 29% joined the Navy, 24% the Air Force, and 7%
accessed into the Marine Corps. For comparison, according to the DMDC, the distribution of all fiscal
year 2019 accessions was approximately 36% for Army, 24% for Navy, and approximately 20% for
both the Air Force and Marine Corps.4

Approximately 11% of the cohort were medically disqualified at application (Table 1), which is lower
than the proportion of medically disqualified applicants among all applicants (17%). 1 The most common
disqualifications fell under the Eyes (23%), Learning, Psychiatric, and Behavioral Disorders (19%),
Vision (18%), or Miscellaneous Conditions of the Extremities (10%) subsections of the Department of
Defense Instruction (DoDI) 6130.03: Medical standards for appointment, enlistment, or induction into
the military services2 (Table 2). This distribution of disqualifications is consistent with the most common
disqualifications among all enlisted applicants.1 The most common disqualifications among the 42 TG
service members with history of a Learning, Psychiatric, and Behavioral Disorder pre-accession medical
disqualification were attention-deficit hyperactivity disorders (n=24, 57%), unspecified mental disorder
(n=9, 21%), and major depressive disorder (n=7, 17%) (Table 3).

The average time in service to first cohort-qualifying medical encounter was approximately 53 months
(± 49 months), although this metric may be skewed due to the large variation of time in service (range of
3 months to 23 years). The median time to their first cohort-qualifying encounter was 38 months, which
is typically nearing the end of a service member’s first contract obligation (Table 4).

Nearly half of the cohort were still serving at the end of the study period, however, approximately a
quarter were adversely separated either via adverse attrition (12%) or EPTS discharge (0.2%) (Table 1).
The most common reason for adverse separation, based on inter-service separation codes (ISC), was
unqualified for active duty (34%) (Table 5), which is comparable to the proportion of all adverse
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separations among all active duty DoD service members who were separated in FY 2020 (roughly
29%).4 On average, cohort members were adversely discharged about three years after their first
qualifying medical encounter. Only three cohort members were discharged due to EPTS in the first 180
days of service, although EPTS data is known to be incomplete and should be considered an
underestimate. Reasons for these EPTS discharges were psychiatric-related, including other specified
depressive episodes, adjustment disorder with depressed mood, and unspecified gender identity disorder
(Table 6). All three service members were discharged between fiscal year 2017 and 2019 (results not
shown) approximately six weeks after their first cohort qualifying encounter.

Nearly 12% of the cohort population was evaluated for disability discharge (Table 1), which is larger
than the rate of disability evaluation among all service members (roughly 1-2%). On average, cohort
members were evaluated for disability about 20 months after their first qualifying medical encounter
(Table 7). Approximately 72% of disability evaluated cohort members were subsequently disability
retired with 30% or more DoD benefits. Similarly, the most common disability disposition among
disability evaluated Soldiers, Sailors and Airmen is disability retirement with a 30% or higher rating. 3
The most commonly evaluated conditions among cohort members (psychiatric 54%, musculoskeletal
28%, neurological 18%) (Table 8) were comparable to those of all service members evaluated for
disability3. Major depressive disorder and post-traumatic stress disorder accounted for three quarters of
the psychiatric conditions (Table 9); however, PTSD and mood disorders (including major depressive
disorder) are often among the most common conditions in the full disability population. 3

6.   Conclusion

The identified TG cohort present similarly to full applicant pool in terms of pre-accession medical
disqualifications. These service members also appear similar to the total force in terms of rates of both
adverse attrition and EPTS discharge; however, the proportion of disability discharge is higher. When
compared to previous research, TG service members appear to stay in service longer than those who are
diagnosed with a psychiatric disorder;5,6,7 nevertheless, having longer in service time does not equate to
deployability. Future research is needed to more thoroughly evaluate in service characteristics including
deployment and limited duty.




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Table 1: Military Characteristics of the Transgender Cohort at Accession

                                                                        Cohort
                                                                       (N=2,063)
 Cohort Entry Calendar Year                                       N                   %
   2015                                                          128                6.20%
   2016                                                          517               25.06%
   2017                                                          523               25.35%
   2018                                                          367               17.79%
   2019                                                          328               15.90%
   2020                                                          200                9.69%
 First Accession Fiscal Year
   1995                                                            2                0.10%
   1996                                                            4                0.19%
   1997                                                            3                0.15%
   1998                                                            5                0.24%
   1999                                                           12                0.58%
   2000                                                           12                0.58%
   2001                                                            8                0.39%
   2002                                                           14                0.68%
   2003                                                           22                1.07%
   2004                                                           25                1.21%
   2005                                                           21                1.02%
   2006                                                           29                1.41%
   2007                                                           44                2.13%
   2008                                                           50                2.42%
   2009                                                           61                2.96%
   2010                                                           97                4.70%
   2011                                                          108                5.24%
   2012                                                          135                6.54%
   2013                                                          176                8.53%
   2014                                                          192                9.31%
   2015                                                          245               11.88%
   2016                                                          259               12.55%
   2017                                                          208               10.08%
   2018                                                          138                6.69%
   2019                                                           60                2.91%
   2020                                                           18                0.87%
   No Accession Record                                           115                5.57%
 First Accession Service
   Army                                                          714               34.61%
   Navy                                                          592               28.70%
   Marine Corps                                                  150                7.27%
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   Air Force                                                           490            23.75%
   No Accession Record                                                 115             5.57%
 First Accession Component
   Active Duty                                                        1,789           86.72%
   Reserves                                                             72            3.49%
   National Guard                                                       87             4.22%
   No Accession Record                                                 115            5.57%
 Rank at First Accession
   Officer                                                              58            2.81%
   Enlisted                                                           1,890           91.61%
   No Accession Record                                                 115            5.57%
 Medical Status at Application
   Qualified                                                          1,723           83.52%
   Disqualified                                                        220            10.66%
   No Application Record                                               120            5.82%
 Service Outcome*
   Still in Service**                                                 1,003           48.62%
   Adverse Attrition                                                   247            11.97%
   EPTS Discharge                                                       3              0.15%
   Disability Evaluation                                               243            11.78%
   Non-Adverse Separation                                              540            26.18%
* Excludes individuals for whom AMSARA found no accession and no separation record
** As of 30 September 2020




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Table 2: DoDI Subsections among those Transgender Cohort Medically Disqualified at Application

                                                                                Medically Disqualified
                                                                                      (N=220)
 DoDI Subsection*                                                                   N                 %
   Head                                                                              0              0.00%
   Eyes                                                                             51             23.18%
   Vision                                                                           39             17.73%
   Ears                                                                              1              0.45%
   Hearing                                                                           0              0.00%
   Nose, Sinuses, Mouth, and Larynx                                                  1              0.45%
   Dental                                                                            1              0.45%
   Neck                                                                              1              0.45%
   Lungs, Chest Wall, Pleura, and Mediastinum                                       14             6.36%
   Heart                                                                             2              0.91%
   Abdominal Organs and Gastrointestinal System                                     0              0.00%
   Female Genital System                                                            12              5.45%
   Male Genital System                                                               6              2.73%
   Urinary System                                                                    4              1.82%
   Spine and Sacroiliac Joint Conditions                                             6              2.73%
   Upper Extremities                                                                 7              3.18%
   Lower Extremities                                                                16              7.27%
   Miscellaneous Conditions of the Extremities                                      22             10.00%
   Vascular System                                                                   1              0.45%
   Skin and Cellular Tissue Conditions                                              12              5.45%
   Blood and Blood Forming Conditions                                                3              1.36%
   Systemic Conditions                                                              12              5.45%
   Endocrine and Metabolic Conditions                                                5              2.27%
   Rheumatologic Conditions                                                          3              1.36%
   Neurologic Conditions                                                             3              1.36%
   Sleep Disorders                                                                   0              0.00%
   Learning, Psychiatric, and Behavioral Disorders                                  42             19.09%
   Tumors and Malignancies                                                           1              0.45%
   Miscellaneous Conditions                                                         19              8.64%
   Transgender                                                                       1              0.45%
* Includes waiver data, subsections are not mutually exclusive so individuals can be count more than once in the table but
only once per subsection. Also, excludes those with a disqualification code that cannot be mapped to the DoDI Subsections.




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Table 3: Most Common Disqualifications among those Transgender Cohort Medically Disqualified at
Application under Learning, Psychiatric, and Behavioral Disorders DoDI Subsection

                                                                                                 Medically
                                                                                                Disqualified
                                                                                           (DoDI Subsection 28)
                                                                                                  (N=42)
 Learning, Psychiatric, and Behavioral Disorders Disqualifications*                           N            %
   Attention-deficit hyperactivity disorders (F90)                                            24        57.14%
   Mental disorder, not otherwise specified (F99)                                              9        21.43%
   Major depressive disorder (F32)                                                             7        16.67%
   Dysthymic disorder (F34.1)                                                                  3         7.14%
   Cannabis abuse (F12.1)                                                                      2         4.76%
   Unspecified mood [affective] disorder (F39)                                                 2         4.76%
   Other anxiety disorders (F41)                                                               2         4.76%
   Impulse disorders (F63)                                                                     2         4.76%
   Underweight (R63.6)                                                                         2         4.76%
   Personal history of self-harm (Z91.5)                                                       2         4.76%
   Specific developmental disorders of speech and language (F80)                              1          2.38%
   Asperger's syndrome (F84.5)                                                                 1         2.38%
   Problems related to lifestyle (Z72)                                                         1         2.38%
* Disqualifications are not mutually exclusive so individuals can be count more than once in the table but only once per
disqualification.


Table 4: Months from Accession to Cohort Entry

                                                                         Cohort with Accession Record
                                                                                  (N=1,948)
 Quantile                                                                           Months
   100% Max                                                                           274
   99%                                                                                 228
   95%                                                                                 160
   90%                                                                                 119
   75% Q3                                                                               71
   50% Median                                                                           38
   25% Q1                                                                               17
   10%                                                                                   9
   5%                                                                                   7
   1%                                                                                    3
   0% Min                                                                               0
 Months from Accession to Cohort Entry (mean±SD)*                                52.96±48.68
* Calculated only among those in the TG cohort with an accession record in AMSARA's data.


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Table 5: End of Service Characteristics among the Transgender Cohort who have Adversely Separated

                                                                                               Cohort Adversely
                                                                                                    Separated
                                                                                                     (N=247)
 ISC Code                                                                                       N             %
   Unqualified for Active Duty - Other (1016, 2016)                                             83         33.60%
   Drugs (1067)                                                                                 31         12.55%
   Commission of a Serious Offense (1084)                                                       20          8.10%
   Expeditious Discharge/Unsatisfactory Performance (1086)                                      17          6.88%
   Discreditable Incidents - Civilian or Military (1065)                                        15          6.07%
   Pattern of Minor Disciplinary Infractions (1083)                                             13          5.26%
   Other (1099)                                                                                 13          5.26%
   Character or Behavior Disorder (1060)                                                        12          4.86%
   Failure to Meet Minimum Qualifications for Retention (1085)                                  11          4.45%
   Alcoholism (1064)                                                                             7          2.83%
   Trainee Discharge/Entry Level Performance and Conduct (1087)                                  5          2.02%
   Erroneous Enlistment or Induction (1091)                                                      4          1.62%
   Good of the Service (in lieu of Court Martial) (1078)                                         4          1.62%
   Court Martial (1073)                                                                          3          1.21%
   Unfitness or Unacceptable Conduct (Other) (2081)                                              2          0.81%
   Failure of Selection for Promotion (2079)                                                     2          0.81%
   Fraudulent Entry (1074)                                                                       2          0.81%
   Failure of Course of Instruction (2063)                                                       1          0.40%
   Secretarial Authority (1090)                                                                  1          0.40%
   Sexual Perversion (1077)                                                                      1          0.40%
 Months from Cohort Entry to Separation (mean±SD)*                                                 33.33±36.41
* Calculated only among those in the TG cohort identified as adversely separated.


Table 6: Characteristics of Existed Prior to Service Discharge among the Transgender Cohort


                                                                          Cohort with an EPTS Record
                                                                                     (N=3)
 ICD Code                                                                           N               %
   Other specified depressive episodes (F32.89)                                     1             33.33%
   Adjustment disorder with depressed mood (F43.21)                                 1             33.33%
   Gender identity disorder, unspecified (F64.9)                                    1             33.33%
 Days from Cohort Entry to Discharge (mean±SD)*                                         41.67±41.02
* Calculated only among those in the TG cohort identified as having and EPTS discharge.




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Table 7: Characteristics of Disability Evaluation among the Transgender Cohort

                                                                               Cohort with a Disability
                                                                                       Record
                                                                                      (N=243)
 Disability Disposition                                                          N               %
    Retired*                                                                    175           72.02%
    Separated with severance                                                     46           18.93%
    Separated w/out benefits                                                     8             3.29%
    Fit                                                                          13            5.35%
    Other                                                                        1             0.41%
 Percent Rating Categories**
    <30%                                                                          48             21.62%
    ≥30% (disability retirement)                                                 174             78.38%
 # of Conditions Evaluated (mean±SD)***                                                  1.45±0.93
 Months from Cohort Entry to Disability Evaluation
                                                                                        20.43±13.30
 (mean±SD)***
* Retired category is made up of PDRL, TDRL, retained on TDRL
** Excludes unrated and missing
*** Calculated only among those in the TG cohort with a disability evaluation record.


Table 8: VASRD Categories among the Transgender Cohort with a Disability Evaluation

                                                                                   Cohort with a Disability
                                                                                           Record
                                                                                          (N=243)
 VASRD Categories*                                                                    N             %
  Psychiatric                                                                        131         53.91%
  Musculoskeletal                                                                     68         27.98%
  Neurological                                                                        43         17.70%
  Digestive                                                                            6          2.47%
  Genitourinary                                                                        4          1.65%
  Dermatologic                                                                         3          1.23%
  Cardiovascular                                                                      3           1.23%
  Respiratory                                                                          3          1.23%
  Endocrine                                                                            2          0.82%
  Infectious Disease                                                                   2          0.82%
  Eyes and Vision                                                                     1           0.41%
  Hemic/Lymphatic                                                                      1          0.41%
* VASRD categories are not mutually exclusive so individuals can be count more than once in the table but only once per
category.




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Table 9: VASRD Codes among the Transgender Cohort with a Disability Evaluation within the
Psychiatric Category

                                                                                                     Cohort with a
                                                                                                        Psychiatric
                                                                                                     VASRD Code
                                                                                                         (N=131)
VASRD Codes*                                                                                         N          %
 Major depressive disorder (9434)                                                                    52      39.69%
 Post-traumatic stress disorder (9411)                                                               47      35.88%
 Chronic adjustment disorder (9440)                                                                  18      13.74%
 Bipolar disorder (9432)                                                                             12       9.16%
 Generalized anxiety disorder (9400)                                                                  5       3.82%
 Dissociative amnesia; dissociative fugue, dissociative identity disorder (9416)                      1       0.76%
 Panic disorder and/or agoraphobia (9412)                                                            1        0.76%
 Somatization disorder (9421)                                                                         1       0.76%
 Specific (simple) phobia (9403)                                                                      1       0.76%
* VASRD codes are not mutually exclusive so individuals can be count more than once in the table but only once per code.




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     Analysis of Medical
   Administrative Data on
Transgender Service Members
      Accession Medical Standards Analysis and Research Activity (AMSARA)
               Medical Standards Analytics and Research (MSAR)
                       Statistics and Epidemiology Branch
                     Walter Reed Army Institute of Research
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                    AMSARA TG Studies
• Study #1
  • January 2018 accession policy change enabled to identify TG population:
     • TG Disqualification: N=24
     • TG Accession: N=1
  • No follow up studies were possible
  • Report presented at the AMSWG meeting, May 2021
• Study #2
  • Complementary administrative data analysis:
     • PHCoE TG cohort N=2,063
         • AD SMs with TG diagnosis from 2015 to 2020
     • Accession characteristics:
         • Data sources: MEPS medical screening, medical waivers and accession records
         • Data points: all medical, TG and psychiatric DQs
     • End of service outcomes:
         • Data sources: loss, disability and EPTS records
         • Data points: non-adverse separations, adverse attrition, disability and EPTS discharges
  • Examined pre-accession factors and end of service outcomes among TG SMs
  • Report presented at the AMSWG meeting, July 2021
                                               UNCLASSIFIED                                          2
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                                                    Results
                                                                                TG %                  All Accessions ~ %
                                Medical DQ                                        11                         17
Accession
                                Enlisted                                          92                         82
Characteristics
                                Active Duty                                       87                         62
                                Army                                              35                         36

In Service                      Navy                                              29                         24
Characteristics                 Air Force                                         24                         20
                                Marine Corps                                       7                         20
                                Adverse Attrition                                 12                         12*
End of Service
                                Disability Evaluation                             12                         1.5
Outcomes
                                EPTS Discharge                                    0.2                        0.9

* Within 3 years of accession


                                                            UNCLASSIFIED                                                   3
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           Findings: Characteristics
• 80% of TG cohort initially accessed: FY11 - FY20
  • Comparing cohort to all AD
     • Higher % of enlisted (92 vs 82) and AD (87 vs 62)
     • Slightly higher % of Navy and AF, but much lower % of Marines
• Approximately 11% DQ’d at application
  • Slightly lower % of medically DQ’d at application than all AD (11 vs 17)
• Most common DQ’s among TG cohort were: Eyes, Psych, Vision
  • Similar when compared to all AD
• Among the TG cohort DQ’d for psych
  • Most common DQ’s were ADHD (60%), unspecified mental disorder (20%), and
    major depressive disorder (17%)
• Median time in service to the first TG encounter: 38 months

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                     Findings: Outcomes
• TG: evaluated for disability ~20 months after their first TG encounter
• TG vs. All SM:
   • Similar adverse attrition and EPTS discharge
   • Higher disability evaluation (12 vs 1-2)
      • Similar % of retired with ≥30% disability (~72)
      • Similar most common evaluated conditions
          • Psychiatric, MSK, neurological
              • TG evaluated for psych disability: MDD and PTSD
              • All SM evaluated for psych disability: PTSD and mood disorders

• TG vs. SMs diagnosed with a psychiatric disorder:
   • Stay in service longer
   • NB: Longer in service time does not equate to deployability

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                           Key Findings
• Comparison of TG vs. all SMs:
  • Similar
    • Proportion with history of any pre-accession medical DQ
      status
    • The distribution of specific medical DQs
    • Rates of adverse attrition
    • EPTS discharge
  • Higher in TG SMs
    • Disability evaluation

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